          Case 2:13-mj-00169-JPD          Document 34        Filed 05/22/13     Page 1 of 3




01

02

03

04

05

06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 13-169
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   CHI ANH NGUYEN,                      )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Bank Fraud; Aggravated Identity Theft

15 Date of Detention Hearing:     May 22, 2013.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant is charged by Complaint with participating in a bank fraud scheme by



     DETENTION ORDER
     PAGE -1
          Case 2:13-mj-00169-JPD           Document 34        Filed 05/22/13      Page 2 of 3




01 using identity information stolen during a burglary to obtain access to bank credit accounts and

02 make purchases and obtain cash advances.

03          2.     Defendant was not interviewed by Pretrial Services, so most of his background

04 information is unknown or unverified. His past criminal record includes other financial

05 crimes, violations of probation, and active outstanding warrants from Connecticut, Illinois, and

06 Florida. Defendant is not a U.S. citizen and was subject to a previous order of removal. He

07 was unable to be deported due to his status as a Vietnamese citizen.

08          3.     Defendant poses a risk of nonappearance due to lack of U.S. citizenship,

09 unknown immigration status, a history of probation violations, active warrants, and lack of

10 background information. Defendant poses a risk of danger due to criminal history.

11          4.     There does not appear to be any condition or combination of conditions that will

12 reasonably assure the defendant’s appearance at future Court hearings while addressing the

13 danger to other persons or the community.

14 It is therefore ORDERED:

15      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

16          General for confinement in a correction facility separate, to the extent practicable, from

17          persons awaiting or serving sentences or being held in custody pending appeal;

18      2. Defendant shall be afforded reasonable opportunity for private consultation with

19          counsel;

20      3. On order of the United States or on request of an attorney for the Government, the

21          person in charge of the corrections facility in which defendant is confined shall deliver

22          the defendant to a United States Marshal for the purpose of an appearance in connection



     DETENTION ORDER
     PAGE -2
         Case 2:13-mj-00169-JPD          Document 34        Filed 05/22/13      Page 3 of 3




01        with a court proceeding; and

02     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

03        for the defendant, to the United States Marshal, and to the United State Pretrial Services

04        Officer.

05        DATED this 22nd day of May, 2013.

06

07                                                      A
                                                        Mary Alice Theiler
08                                                      United States Magistrate Judge

09

10

11

12

13

14

15

16

17

18

19

20

21

22



     DETENTION ORDER
     PAGE -3
